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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:04-cr-00030-MP-AK

ALFRED LEE CASON, JR,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 74, Motion for Forfeiture of Property by Alfred

Lee Cason, Jr. A telephone hearing was held on this matter on Friday, July 28, 2006. In the

motion, and during the hearing, the defendant stated that the wife, Stacy Cason, withdraws any

objection and now consents to the forfeiture. This motion is granted. By withdrawing this

objection, both the defendant and his wife, Stacy Cason, now consent to the forfeiture.

       DONE AND ORDERED this            28th day of July, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
